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US District Court
300 N Hogan St Ste 9,
Jacksonville, FL 32202

Lisa Maldonado

2368 Oak Hammock Lane Zz oo Sta =K0a =F MH - (0B

Orange Park, FL 32065

Versus

Donald John Trump and James David (J.D.) Vance

GRIEVANCE

In accordance with my First Amendment Right to petition discoverment for a redress of my
grievance, | state the following.

1. On January 6, 2021, Donald Trump engaged in an insurrection.

2. Since January 6, 2021, Donald Trump and J.D. Vance have given aid and comfort to the
Insurrectionists. Most recently, he has pardoned those who pled guilty or were found

guilty of insurrection.

3. The 14" Amendment forbids the defendants from holding their respective offices.
Therefore, | demand that section 3 be imposed upon Donald Trump and J.D. Vance.

No person shall be a Senator or Representative in Congress, or elector of
President and Vice-President, or hoid-any office, civil or miiitary, under the
United States, or under any State, who, having previously taken an oath, as a
member of Congress, or as an officer of the United States, or as a member of any
State legislature, or as an executive or judicial officer of any State, to support the
Constitution of the United States, shall have engaged in insurrection or rebellion
against the same, or given aid or comfort to the enemies thereof.
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